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DEC. 15 2013 FILED IN THE
Epestesdt CTT CHROESINGSTON
TO WHOM IT MAY CONCERN. DEC 1 8 9013
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RE. KENNETH ROWELL FERN MONO OS cry

YAKIMA, WASHINGTON

MY NAME IS HOWARD ROWELLI AM KENS DAD. I HAVE LIVED IN PASCO WA. ALL MY LIFE. |
AM MARRIED TO LINDA ROWELL, KENS MOTHER.

WE HAVE NINE CHILDREN. WE HAVE BEEN MARRIED FIFTY YEARS THIS MARCH. WE HAVE

RUN SUCCESSFUL BUSINESSES FOR OVER FORTY YEARS IN PASCO WA. MY WIFE RAN SIGNS
BY SUE

AND I RAN H.A. ROWELL AUCTIONEERS. WE HAVE TAUGHT OUR CHILDREN TO HAVE GOOD
WORK HABITS. SOME OF OUR CHILDREN ARE SUCCESSFUL BUSINESS OWNERS.

NOW TO KENNY.

KENNY HAS GOOD WORK HABITS, IS A SKILLED EQUIPMENT OPERATOR, MECHANIC AND
HAS EXCELLENT PEOPLE SKILLS. HE IS A GOOD FATHER TO HIS DAUGHTERS. A HARD
WORKER, HE STARTED A SUCCESSFUL RECYCLING BUSINESS AND ATTENDED AUCTIONEER
SCHOOL.

AND WAS ON THE ROAD TO STARTING TO TAKE OVER MY AUCTION BUSINESS.

NOW TO THE QUESTION OF HIM GETTING OUT ON RELEASE.

IT PROBABLY KNOW KEN BETTER THAN ANYONE ELSE. HE HAS ALWAYS BEEN HONEST WITH
ME AND MY WIFE. AS YOU ARE AWARE, HE IS OUT ON BAIL FROM BENTON COUNTY
$30,000 HE GUARANTEED ME HE WOULD STAY WITH ME AND MAKE ALL HIS COURT
APPEARANCES. HE WAS MAKING A COURT APPEARANCE AS AGREED WHEN THE U.S.
MARSHALS ARRESTED HIM IN KENNEWICK.

I BELIEVE THE RECORD WILL INDICATE THAT KENNY HAS FOLLOWED THROUGH ON ALL HIS
PROBATION AGREEMENTS, HAS NOT HAD ANY INFRACTIONS WHEN HE HAS BEEN
INCRCERATED.

KENNY IS NOT A VIOLENT PERSON I BELIEVE HIS RECORD WILL SHOW THAT HE HAS A VERY
GOOD HEART TOWARDS OTHERS. HE DOESN'T HAVE ANY VIOLENT CHARGES THAT I AM
AWARE OF.

KENNY HAS A DRUG PROBLEM METHIUNDERSTAND. I'M TOLD ITS LIKE HAVING AHOLD OF
A TRAIN GOING A HUNDRED MILES AN HOUR AND YOU CAN'T LET GO. KENNY HAS BEEN
OFF THE METH LONG ENOUGH THAT HE HAS LET GO.

WHEN HE WAS PAROLED TO US HE MADE AGREEMENTS WITH US AND THE BAIL
BONDSMAN THAT HE WOULD MAKE ALL APPEARANCES AS REQUIRED. NOT HAVE CONTACT
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WITH ANYONE HE WAS DOING DRUGS WITH, AND STAY WITH US. HE GAVE HIS CELL
PHONE TO HIS MOM AND SAID 'I DON'T NEED THIS ANY LONGER’. HE HAS FOLLOWED
THROUGH WITH HIS HIS PROMISES. ALSO I HAVE AN AGREEMENT WITH THE BAIL
BONDSMAN THAT IF I EVEN SUSPECT KENNY IS DOING ANYTHING WRONG I'LL REPORT KEN
TO HIM. KEN KNOWS I WON'T LIE FOR HIM.

KEN WAS WORKING WITH ME AT THE AUCTION TO PAY ROOM AND BOARD AND TO MAKE
SOME MONEY FOR CHILD SUPPORT AND FINES.

IF KEN IS RELEASED TO US WE WILL KEEP A CLOSE EYE ON HIM AND FOLLOW WHAT THE
COURT DICTATES.

OUR SCHEDULE IS AS FOLLOWS MY WIFE IS RETIRED I STILL WORK. WE ARE SERVING A
MISSION FOR THR CHURCH OF JESUS OF LATTERDAY SAINTS BISHOPS STOREHOUSE ON
TUESDAY AND WEDNESDAY ( KEN WAS GOING AND WORKING WITH US ON THOSE DAYS
AND WILL CONTINUE TO DO SO IF RELEASED). KEN NEEDS A DRUG TREATMENT PROGRAM.

KEN IS NOT A VIOLENT PERSON AND WILL KEEP HIS APPEARANCES AND FOLLOW THE
COURTS DIRECTIONS. HE KNOWS HE SCREWED UP AND HAS TO PAY FOR HIS MISTAKES.
THE COURT SEES A BAD RECORD I SEE A YOUNG MAN WITH A DRUG PROBLEM.

IF YOU WORKED OR SOCIALIZED WITH HIM YOU WOULD BE SUPRISED WITH HIS RECORD.
YOU WOULD SEE A DIFFERENT PERSON.

THANKS FOR YOUR CONSIDERATION

HOWARD ROWELL (KENS DAD)

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12-18-13 PILED INTHE
= sre STeT OF WASHINGTON
To whom it may concern, DEC 18 2613

SEAN F. NAVOY, CLERIC

RE: Kenneth Richard Rowell C@-13-W070- WEAL ecareancton

I am Tim Rowell, Kenny's older brother, | am writing in his behalf.

Many times I have worked close with Kenny. He has always been positive,

fun and uplifting to work with. He has been honest and hard working with me and
the customers that we have worked with. He built a business from the ground up
with very little help or capital from me or his parents. I feel that he can be of great
value to the community.

Kenny has to young daughters that benefit greatly from any time spent with him.
He is a good father and takes pride in providing for them.

He has never been a violent person. He has struggled with drugs (meth). That
seems to bring him down in the worst ways. When the relapse was realized we
pulled together as a family, took him to the treatment center, and he was denied do
to being a registered sex offender from an incident that happened when he was 11
years old. That indecent has plagued him for all of his life. Treatment would be of
great service to him.

He does have a solid foundation and a full support system with in his community
and family.

Thank you for your time.

Sincerely,
Tim Rowell

Kennewick, Wa. Si

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From: Brent Pierce <pierce.brent@gmail.com> aga pares

Date: Tue, Dec 17, 2013 at 3:25 PM Perera een
Subject: Kenny DEC 18 2013

To: "harowell@bossig.com" <harowell@bossig.com> BEAN F McAVOY, CLERK

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YAKIMA, WASHINGTON
CA-13-bOTO-LoFM

To whom it may concern,
I have known Kenny Rowell since he was a young boy, and have watched him grow up.
Obviously he has made some poor choices in his life due to his involvement with
drugs. I have observed that drugs change a persons values and they make poor
decisions, this is the case with Kenny in my judgment.
Kenny is not violent at all, he is very kind to others, and is a fun and loving father.
He has related to me that he really wants to get his life straightened out.
He has the ability and willingness to earn a living, to support his family.
I hope he can stay in mainstream society.
I do not see Kenny as a threat to others.

Sincerely,
Brent Pierce

Pasco WA QP

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